                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF TENNESSEE



UNITED STATES OF AMERICA

      v.                                    No. 3:25-cr-115

                                            Judge Waverly D. Crenshaw, Jr.
KILMAR ARMANDO ABREGO GARCIA,


                        Defendant.



           MOTION TO STAY ISSUANCE OF RELEASE ORDER IN EVENT
                 OF DENIAL OF MOTION FOR REVOCATION




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        In the event the Court denies the government’s motion for revocation, Mr. Abrego, with

the government’s consent, seeks a 30-day stay of the issuance of any release order.

        We have been advised by the government that if the Court denies the government’s motion

for revocation, the defendant would be transferred to the custody of the Department of Homeland

Security (“DHS”), and DHS would begin removal proceedings. Given the uncertainty of the

outcome of any removal proceedings, Mr. Abrego respectfully requests that, should the Court deny

the government’s motion for revocation, the issuance of an order releasing Mr. Abrego be delayed

for 30 days to allow Mr. Abrego to evaluate his options and determine whether additional relief is

necessary.

        The government does not object to this request, and such a short delay will not affect the

parties’ ability to confer regarding a proposed scheduling order or to prepare for trial. The

government has informed defense counsel that it will continue producing discovery during this 30-

day time period, the parties will continue to collaborate on a scheduling order in advance of the

July 30, 2025 deadline, and do not anticipate continuance of the January 27, 2026 trial date due to

this requested relief.




Dated: July 20, 2025                                 Respectfully submitted,
       New York, New York

                                                      /s/ Sean Hecker
                                                     Sean Hecker*
                                                     Jenna M. Dabbs*
                                                     David Patton*
                                                     HECKER FINK LLP
                                                     350 Fifth Avenue, 63rd Floor
                                                     New York, NY 10118
                                                     Telephone: (212) 763-0883
                                                     Fax: (212) 564-0883


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                                         shecker@heckerfink.com
                                         jdabbs@heckerfink.com
                                         dpatton@heckerfink.com

                                         * admitted pro hac vice

                                         Rascoe Dean (No. 034209)
                                         SHERRARD ROE VOIGT & HARBISON PLLC
                                         1600 West End Avenue, Suite 1750
                                         Nashville, Tennessee 37203
                                         Telephone: (615) 742-4200
                                         Fax: (615) 742-4539
                                         rdean@srvhlaw.com

                                         Counsel for Defendant Kilmar Armando
                                         Abrego Garcia




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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 20, 2025, I electronically filed the foregoing document with

the clerk of the court by using the CM/ECF system, which will send a notice of Electronic Filing

to the following: Acting United States Attorney, Robert E. McGuire, 719 Church Street, Suite

3300, Nashville, Tennessee 37203; Assistant United States Attorney, Jason Harley, 210 Park

Avenue, Suite 400, Oklahoma City, Oklahoma 73102.



                                                           /s/ Sean Hecker




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